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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Southern Division)

THONY ANYIAM *
5314 Annapolis Road
Bladensburg, Maryland 20710, *
Plaintiff, » * Case No.
v.
* Removed from the District Court
INDYMAC MORTGAGE SERVICES of Prince George’s County, Maryland
888 East Walnut Street * Case No. 05()200371112010
Pasadena, California 91 101
*
Defendant.
*
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NOTICE OF REMOVAL
Defendant OneWest Bank, FSB (“Defendant” or “OneWest”), incorrectly identified in
Plaintiff’s Complaint as “lndyMac Mortgage Services,”l by its undersigned attorneys, pursuant
to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, files this notice of removal of this civil action from
the District Court for Prince George’s County, Maryland to the United States District Court for
the District of Maryland (Southern Division). This Court has jurisdiction based on federal
question jurisdiction, 28 U.S.C. § 1331, and supplemental jurisdiction pursuant to 28 U.S.C. § ‘

1367. In further support of this Notice of Removal, Defendant OneWest states:

 

l ln the Complaint filed With the District Court of Maryland for Prince George’s County,
Plaintiff identifies the defendant as lndyMac Mortgage Services. lndyMac l\/Iortgage Services is
a division of OneWest and is not a separate legal entity capable of being sued. To the extent that
Plaintiff asserts a claim against lndyMac Mortgage Services, OneWest is the proper Defendant in
this matter.

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I. Plaintiff’ s Complaint

1. On October 18, 2010, Plaintiff Thony Anyiam (“Plaintiff” or “Anyiarn”) filed his
Complaint in State Court against OneWest in the District Court of Maryland for Prince George’s
County. The State Court case is styled: Thony Anyiam v. lndyMac Mortgage Services, Case
No. 050200371112010 (the “State Court Action”). A copy of the Complaint filed in the State
Court Action is attached as Exhibit A.

2. This Notice of Removal is timely filed. OneWest Was first sent the Complaint
and the corresponding summons on November 2, 2010 by certified mail in Kalamazoo,
Michigan2 This Notice of Removal is filed within thirty (30) days of receipt. A copy of the
Summons received by OneWest is attached as Exhibit B.

3. ln the Complaint, Plaintiff, Who is appearing pro se, alleges that there are
inaccuracies on his credit report and that OneWest, Which services Plaintiff’s secured residential
mortgage loan, has failed to correct the alleged inaccuracies, Which has negatively affected his
credit, and that he has previously requested that OneWest correct the issue, but OneWest has not
done so. See generally Compl. For these allegations, Plaintiff seeks $4,500 in darnages, plus
court costs.

4. Plaintiff has been and remains a citizen and resident of Maryland, and owns real
property at 5314 Annapolis Road, Bladensburg, Maryland, 20710. See Compl. at 1.

5. Since the filing of the Complaint, OneWest has been and continues to be a federal

savings bank Whose main office is located in California, as listed in its organization certificate

 

2 Plaintiff did not serve properly OneWest according to Maryland Rule 2-124. Instead, Plaintiff
sent the Complaint to Laura Reginek, the addressee identified on the Complaint and summons, at
a Kalamazoo, Michigan address. Ms. Reginek is not a “resident agent, president, secretary, or
treasurer” of OneWest, therefore, service of process did not meet the requirements of Maryland
Rule 2-124.

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II. Removal Based on Federal Question Jurisdiction

7. This Court has original jurisdiction over this action under 28 U.S.C. § 1331,
which provides: “The district courts shall have original jurisdiction of all civil actions arising
under the Constitution, laws, or treaties of the United States.”

8. Pursuant to 28 U.S.C. § 144l(b), “[a]ny civil action of which the district courts
have original jurisdiction founded on a claim or right arising under the Constitution, treaties or
laws of the United States shall be removable without regard to the citizenship or residence of the
parties.” Specifically, this Court has original jurisdiction of this action because the Plaintiff" s
allegations arise under a federal statute, the Fair Credit Reporting Act.3

9. While not invoking the statute by name, the allegations presented by Plaintiff
pertaining to his credit report attempt to assert a claim under the Fair Credit Reporting Act, 15
U.S.C. § 1681, el. seq., specifically a failure by OneWest to correct inaccurate information
provided to a consumer credit reporting agency pursuant to 15 U.S.C. § 1681s-2. See While v.
Ameritel Corp., No. DKC 10-0929, 2010 U.S. Dist. LEXIS 93616, at *10-11 (D. l\/Id. Sept. 9,
2010) (holding that removal was proper and denying motion to remand because plaintiff clearly
stated a claim for retaliation and wrongful termination under Title Vll, even though he did not
specifically invoke that statute by name).

10. To the extent Plaintiff asserts any additional claims in the Complaint, the Court

has supplemental jurisdiction over these claims pursuant to 28 U.S.C. § 1367(a).

 

3 Further, the parties have diversity of citizenship However, at this time, the amount in
controversy does not exceed $75,000. Defendant reserves the right to amend this Notice should
Plaintiff later assert an amount in controversy exceeding $75,000.

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III. Removal Procedures

11. Removal of this case is proper under 28 U.S.C. § 144l(a), which provides in
pertinent part, that “any civil action brought in a State court of which the district courts of the
United States have original jurisdiction, may be removed by the defendant or the defendants, to
the district court of the United States for the district and division embracing the place where such
action is pending.”

12. Venue is appropriate in this Court pursuant to 28 U.S.C. § 144l(a). Defendant
seeks to remove this case to the District of Maryland, Southern Division. The District Court of
Prince George’s County, Maryland is located within this District and cases arising in Prince
George’s County, Maryland are properly assigned to the Southern Division of this Court. See 28
U.s.C. § 100(1).

~ 13. OneWest is the only defendant in this case, therefore, no other party need consent
to this removal.

14. Pursuant to 28 U.S.C. § 1446(a), all copies of all process, pleadings, and orders
served upon Defendants in the State Court Action are attached hereto as Exhibits A and B.‘

15. Written notice of the filing of this Notice of Removal will be served upon
Plaintiff.

16. In accordance with 28 U.S.C. § l446(d), a true and correct copy of this Notice of
Removal (without exhibits) is being filed concurrently with the Clerk of the District Court for
Prince George’s County, Maryland and served upon all parties of record. A copy of the written

notice of the Notice of Removal is attached hereto as Exhibit C.

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17. ln filing this Notice of Removal, Defendant does not Waive, and specifically

reserves, any and all objections as to service, personal jurisdiction, defenses, exception, rights,

and motions.

IV.

WHEREFORE, Defendant OneWest Bank, FSB, respectfully requests the above-
captioned action now pending in the District Court for Prince George’s County, Maryland, be
removed to the United States District Court for the District of Maryland, Southern Division, and
that said United States District Court assume jurisdiction of this action and enter such other and

further orders as may be necessary to accomplish the requested removal and promote the ends of

justice.

Dated this 2nd day of December, 2010.

Conclusion

Respectfully submitted,

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AmyAtaiuer (Md. Fed. Bar No. 17575)
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Counsel for Defendant 0ne West Bank, FSB

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CERTIFICATE OF SERVICE
l HEREBY CERTIFY that on this 2nd day of December, 2010, a copy of the foregoing
Notice of Removal was sent by first class mail, postage prepaid, to the following:
Thony Anyiam
5314 Annapolis Road
Bladensburg, Maryland 20710
Plaintiff

Amy/Mmer

